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                           UNITED STATES DISTRICT COURT 17111"
                            EASTERN DISTRICT OF TEXAS mEjBjMJ
                                                                                may 1 5 2018
   CRAIG CU NINGHAM, Pro-se ) Clcri<                                U-S. District Court
                                                                                 Texas Eastern

          Plaintiff                                                         )
                                                          ) CIVIL ACTION NO.:
   v.                                         )
                                       )
   Jay Politi, Nicholas Politi, Americo Financial Life and Annuity Company, One Resource
   Group, Jasmine Wicks, Axis Benefit Solutions, Inc., Axis Advisory Group, Inc., Moisos
   Espinosa, Katherine Brewer, Bryan Brewer, Monument Adjustment Bureau, LLC )

          Defenda ts.



                               Plaintiffs Original complaint

      1. The Plaintiff in this case is Craig Cunningham, a natural person and has a mailing

          address of 5543 Edmondson Pike, ste 248, Nashville, TN 37211

      2. Jay Politi is a natural person and can be served at 7285 Woolmarket Rd Apt

          H356, Biloxi, MS.

      3. Nicholas Politi is a natural person and can be served at 7285 Woolmarket Rd Apt

          H356, Biloxi, MS.

      4. Jasmine Wicks is a natural person and Texas licensed insurance agent who can be

          served at 120 Werner Rd., Curtis Bay, MD 21226.

      5. Americo Financial Life and Annuity Insurance Company can be served via

          registered agent, CT Corporation System, 1999 Bryan Street, ste 900, Dallas Tx

          75201-3136.

      6. One Resource Group Corp is an Indiana corporation that can be served via

          Registered agent Robert Nicholson, 301 W. Jefferson Blvd., ste 200 Fort Wayne,
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         IN 46802.

      7. Axis Advisory Group, Inc. is a Mississippi corporation that can be served via

         registered agent Nick Politi, 7285 Woolmarket Rd., Apt H356, Biloxi, MS 39532

         or 8530 Pointe Aux Chenes Rd., Ocean Springs, MS 39564.

      8. Axis Benefit Solutions, Inc., is a Mississippi corporation that can be served via

         registered agent Nick Politi at 8530 Pointe Aux Chenes Rd., Ocean Springs, MS

         39564 or 7285 Woolmarket Rd., Apt H356, Biloxi, MS 39532.

      9. Bryan Brewer is a natural person and can be served at 2301 Maitland Center

         Parkway, ste 240 Maitland, FL 32751.

      10. Katherine Brewer is a natural person and corporate officer of Monument

         Adjustment Bureau, LLC and can be served at 2301 Maitland Center Parkway,

         Ste 240 Maitland, FL 32751.

      11. Monument Adjustment Bureau, LLC is a Florida Corporation and can be served

         via registered agent and corporate officer Katherine Brewer at 2301 Maitland

         Center Parkway, ste 240, Maitland, FL 32751

      12. John and Jane Does 1-5 are currently unknown individuals that initiated the illegal

         telemarketing calls or are otherwise liable.




                                              Jurisdiction

      13. Jurisdiction of this court arises as the acts happened in this county.

      14. Venue in this District is proper in that the defendants transact business here, and

         the acts and transactions occurred here. Personal jurisdiction is apparent as the

         defendants are making calls into the state of Texas for the purpose of soliciting
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         Texas Residents to purchase life ins rance. Additionally, the agent the Plaintiff

         spoke to is a licensed Texas insurance agent.

      15. Furthen ore, the co-defendants are necessary indispensible parties that also

         placed illegal telemarketing calls to the Plaintiff to sell insurance from Foresters

         as well by purchasing leads from the same lead vendors named in this complaint

         and are operating from the same set of circumstances and facts.

                                    Nature of the Action

      16. This case involves a scheme by Defendant Americo Financial Life and Annuity

         Insurance Company ( Americo ) (by and through their agent co-defendant s: Jay

         Politi, Nicholas Politi, Americo Financial Life and Annuity Company, One

         Resource Group, Jasmine Wicks, Axis Benefit Solutions, Inc., Axis Advisory

         Group, Inc.) to market their insurance products through use of pre-recorded

         messages in violation of the Telephone Consumer Protection Act, 47 U.S.C. § 227

         et seq. (hereinafter referred to as the TCP A ).

      17. As described more fully below, the defendant insurance companies have issued a

         high volume of insurance quotes - and made substantial sales of products and

         services - derived through illegal telemarketing calls placed by their co¬

         defendants. According to Tony Luetkemeyer, Americo has an independent agent

         work force that places calls on behalf of Americo.

      18. Americo both delegated its marketing duties to the co-defendants and ratified the

         conduct of each and every Co-defendant by accepting the referrals and sales

         generated by the illegal calls on behalf of Americo. Americo also actively

         participated in the telemarketing calls through the actions of its agents. Together,
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          these Defendants contacted, and/or caused to be contacted on their behalf.

          Plaintiff without their prior express written consent within the meaning of the

          TCPA.

       19. This Court has personal jurisdiction over all defendants because, as the companies

           and agents are licensed to and do conduct the business of insurance in the State of

          Texas, they have established inimum contacts showing they purposefully

           availed themselves to the resources and protection of the State of Texas. This

          Court has personal jurisdiction over each and every co-defendant because the

           conduct at issue in this case occurred, among other locations, in Texas.

      20. This Court has personal jurisdiction over the individual defendants because their

          conduct at issue in this case occurred, among other locations, in Texas, including

          his involvement in the pre-recorded telemarketing calls to the Plaintiff. This Court

           also has personal jurisdiction over the individual defendants because:

   a. The individual defendants are 100% owner of their respective corporations;

   b. The individual defendants had direct participation in the telemarketing calls that are the

   subject of this lawsuit;

   c. The individual defendants are subject to personal liability as described below.

      21. At all times material to this complaint, the individual defendants owned,

           contro led, or was a corporate officer of their respective corporations, and directed

           its telemarketing practices.

      22. The individual defendants are also individually liable for the telemarketing

           campaign that is the subject of this complaint pursuant to 47 U.S.C. § 217, which

           states:
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   In construing and enforcing the provisions of this chapter, the act, omission, or failure of

   any officer, agent, or other person acting for or employed by any common carrier or user,

   acting within the scope of his employment, shall in every case be also deemed to be the

   act, omission, or failure of such carrier or user as well as that of the person. The

   individual defendants directly committed the wrongful acts contained in this Complaint.

   The individual defendants also authorized the telemarketing campaign performed on

   behalf of Americo.

   THE TELEPHONE CONSUMER PROTECTION ACT OF 1991 (TCPA), 47 U.S.C.

                                                  §227
   38. In 1991, Congress enacted the TCPA to regulate the explosive growth of the

      telemarketing industry. In so doing. Congress recognized that [u]nrestricted

      telemarketing . . . can be an intrusive invasion of privacy [.] Telephone Consumer

      Protection Act of 1991, Pub. L. No. 102-243, § 2(5) (19 1) (codified at 47 U.S.C. §

      227).

   39. Through the TCPA, Congress outlawed telemarketing via unsolicited automated or

      pre-recorded telephone calls ( robocalls ), finding:

   [RJesidential telephone subscribers consider a tomated or prerecorded telephone calls,

   regardle of the content or the initiator of the message, to be a nuisance and an invasion

   ofprivacy.

   Banning such automated or prerecorded telephone calls to the home, except when the

   receiving party/ consents to receiving the calf, ] . . . is the only effective means of

   protecting telephone consumers from this nuisance and privacy invasion.

   40 On January 4, 2008, the FCC released a Declaratory Ruling wherein it confirmed that
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        a company on whose behalf a telephone olicitation is made bears the responsibility

      for any violations, Id. (specifically recognizing on behalf of liability in the context

       of a an autodialed or prerecorded message call sent to a consumer by a third party

       on another entity s behalf under 47 U.S.C. 227(b)).

   41 The FCC has explained that its rules genera ly establish that the party on whose

       behalf a solicitation is made bears ultimate responsibility for any violations. See

       FCC Declaratory Ruling, Memorandum and Order, 10 FCC Red. 12391, 12397

       13) (1995).

   42 The co-defendants made the autodialed and prerecorded message calls described

       herein “on behalf of Americo within the meaning of the 2008 FCC Declaratory

       Ruling.

       23. On May 9, 2013, the FCC released a Declaratory Ruling reaffirming that a

           corporation or other entity that contracts out its telephone marketing may be held

           vicariously liable under federal common lcm> principles of agency for violations of

           . . . section 227(b) . . . that are committed by third-party telemarketers.


   43. More specifically, the May 2013 FCC Ruling held that, even in the absence of

           evide ce of a formal contractual relationship between the seller and the

           telemarketer, a seller is liable for telemarketing calls if the telemarketer has

           apparent (if not actual) authority” to make the calls. 28 F.C.C.R. at 6586 ( f 34).

   44. The FCC has rejected a narrow view of TCPA liability, including the assertion that a

           seller s liability requires a finding of formal agency and immediate direction and

           control over the third-party who placed the telemarketing call. Mat n.107.

    45. The May 2013 FCC Ruling further clarifies the circumstances under which a
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           telemarketer has apparent authority:

   [A]pparent a thority may be supported by evidence that the eller allows the outside

   sale entity access to information and systems that normally would be within the seller

   exclusive control, including: access to detailed information regarding the nature and

   pricing of the seller s product and services or to the seller's customer information. The

   ability by the outside sales entity to enter consumer information into the seller s sales or

   customer systems, as well as the authority to use the seller s trade name, trademark and

   service mark may also be relevant. It may also be persuasive that the seller approved,

   wrote or reviewed the outside entity s telemarketing scripts. Finally, a seller would be

   re ponsible under the TCP A for the unauthorized conduct of a third-party telemarketer

   that is otherwi e authorized to market on the seller s behalf if the seller knew (or

   reasonably should have known) that the telemarketer was violating the TCP A on the

    eller s behalf and the seller failed to take effective steps within its power to force the

   telemarketer to cease that conduct.


   F.C.C.R. at 6592 (f 46).

   46. The Americo defendants are legally responsible for ensuring that the co-defendants

       complied with the TCPA, even if Americo did not themselves make the calls.

   47. Americo knew that the telemarketers have violated the TCPA on Americo behalf and

       failed to take effective steps within their power to force the telemarketers to cease that

       conduct. Finally, the May 2013 FCC Ruling states that called parties may obtain

        evidence of these kinds of relationships . . . through discovery, if they are not

       independently privy to such information. Id. at 6592-93 46). Moreover, evidence

       of circumstances pointing to apparent authority on behalf of the telemarketer should
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       be s fficient to place upon the seller the b rden of demonstrating that a reasonable

      consumer would not sensibly a sume that the telemarketer was acting as the seller

      authorized agent. Id. at 6593 (% 46




                                The Defendants Marketing Scheme

   48. Americo relies on a series of third parties ( Americo agents ) to promote its goods or

       services. In fact, if an individual wanted to purchase Americo products, the Americo

       website advises” You can purcha e Americo quality insurance products through a

       network of independent life insurance agents. Our sales and marketing staff will be

       happy to recommend a friendly in urance agent in your area who can assist you.

   If you are not a Americo member and are interested in purchasing a Americo product,

   please f l out the form below to have an Agent contact you.




   Americo maintain interim control over its agents’ actions, both as to telemarketing

   and other activities.




   49. Americo maintains the right to control the content of their agents advertising.

   50. An example of how Americo maintains the right to control their agents advertising is

       by:

   a. Forester’s auditors have the right to review, monitor or oversee any activity related to

   the business of soliciting insurance applications for them

   b. Americo also requires its agents to maintain an insurance policy insuring Americo for

   the actions of the agents.
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   51. Americo exercised all of these rights during the course of their relationship with each

       of the co-defendants.

                         Vicarious Liability Under the FCC s Order

   52. The Federal Communication Commission concurs that sellers such as Americo may

       not avoid liability by outsourcing telemarketing:

    Allowing the seller to avoid potential liability by o tsourcing its telemarketing activities

   to unsupervised third parties would leave consumers in many cases without an effective

   remedy for telemarketing intrusions. Thi would particularly be so if the telemarketers

   were judgment proo unidentifiable, or located outside the United States, as is often the

   case. Even where third-party telemarketers are identifiable, solvent, and amenable to

   judgment limiting liability to the telemarketer that physically places the call would make

   enforcement in many cases substantially more expensive and less efficient, since

   consumersjor law enforcement agencies) would be required to sue each marketer

   separately in order to obtain effective relief. As the FTC noted, because [sjellers may

   have thousands of 'independent marketers, suing one or a few of them is unlikely to

   make a substantive difference for consumer privacy.

   In re Joint Pet. Filed by Dish Network, LLC, CG Docket No. 11-50, 2013 WL 1934349,

   37 (FCC May 9, 2013) (internal citations omitted).

   53. Under the standards outlined in the FCC s order and by other Courts interpreting that

   Order, Americo is liable to the Plaintiff under the following theories:

   a. Direct Liability

   b. Actual Authority

   c. Ratification
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    d. Apparent Authority

                                           Direct Liability




    Americo actively participated in the telemarketing calls that are the subject of this case.

    54. The calls to the Plaintiff is an example of how. Although the co-defendants made the

        calls and took the Plaintiffs information, Americo itself participated in the call by

       issuing a quote for insurance.

    55. The Plaintiff received a quote from Americo and was offered insurance. Additionally,

       the Plaintiff was sent letters directly from Americo regarding the insurance quotes

       and insurance from Americo.

    56. It is the purpose of a call, rather than what is said, that matters for TCPA liability.

        Chesbro v. Best B y Stores, L.P., 705 F.3d 913 (9th Cir. 2012).

    57. Each cal that the co-defendants placed, regardless of how far the call recipient

       permitted the sales pitch to go, was intended by ll parties involved to result in sales

        of Americo products and services.

    58. Defendant Americo issued quotations for insurance wholly derived from the co¬

        defendant s calls, including the ones to the Plaintiff.

    59. Americo also issued insurance policies to persons who accepted such quotations

       based on the illegal calls from the co-defendants.

                                          Actual Authority

    60. With regard to torts committed by an agent, tort committed by an agent, the

    Restatement of Agency provides: § 7.04 Agent Acts With Actual Authority

    A principal is subject to liability to a third party harmed by an agent’s conduct when the
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    agent s co duct is within the scope of the agent s actual authority or ratified by the

    principal; and

    (1) the agent’s conduct is tortious, or

    (2) the agent’s conduct, if that of the principal, would subject the principal to tort

    liability.

    See RESTATEMENT (THIRD) OF AGENCY § 7.04 cmt. d(2) (2006).

    61. The purpose of Americo’ agents is to serve Americo by soliciting applications

    for insurance from consumers on behalf of Americo

    Indeed, the co-defendants did this through the pre-recorded telemarketing alleged in this

    Complaint.

    62. Americo also directed the quality, timing, geographic location and volume of co¬

    defendant’s applicants that it sent to them.

                                              Ratification

    63. In the alternative, Americo repeatedly ratified the co-defendant’s illegal marketing

        scheme by knowingly accepting the benefits of the co-defendant’s activities when

        they accepted applications and customers from them.

    64. Since at least April of 2013, Americo has been on notice that agents were using pre¬

        recorded telemarketing calls to generate customers for Americo.

    65. Upon information and belief, Americo and their agents were aware of co-defendant’s

        marketing scheme well back to April of 2013 and that thet co-defendants was making

        calls using an artificial or prerecorded voice to generate customers for Americo.

    66. Americo has continued to do business with telemarketers that are breaking the law to

        send customers to Americo for years.
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    67. In participating in these calls (through the issuance of quotes and policies), Americo

       manifested an intent to accept the benefit of the co-defendants calling campaigns;

       including calls that were made by to the Plaintiff that did not result in a quote or

       policy.

    68. Because it accepted the calls benefits from the co-defendants, including continued

       customers, Americo cannot avoid the burden associated with their ratification

    69. Vicarious liability for TCPA violations can arise out of ratification. As the FCC

       stated:

    Restatement (Third) of Agency § 2.03, cmt. c. As commonly understood under modem

    agency principles reflected in the Third Restatement, such apparent authority can arise in

    multiple ways, and does not require that a principal’s manifestation must be directed to a

    specific third party in a communication made directly to that person. Id., reporter’s note

    a. Rather, a principal may create apparent authority by appointing a person to a

    particular position. Id. Similarly, a principal may permit an agent to acquire a

    reputation of authority in an area or endeavor by acquiescing in conduct by the agent

    under circumstances likely to lead to a reputation. Id., cmt. c. And [rjestrictions on an

    agent’s authority that are known only to the principal and the agent do not defeat or

    supersede the consequences of apparent authority for the principal’s legal relations with

    others.” Id. In such circumstances, for example, the presence of contractual terms

    purporting to forbid a third-party marketing entity from engaging in unlawful

    telemarketing activities would not, by themselves, absolve the seller of vicarious liability.

    In re Joint Pet. Filed by Dish Network, LLC, CG Docket No. 11-50, 2013 WL 1934349

    *16, 34, fn 102.
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    70. Americo knowingly and actively accepted business that originated through the illegal

       telemarketing calls complained of herein.

    71. The benefits of the relationship Americo requested from the FCC must be

       accompanied by the burden.

                                       Apparent Authority

    72. Americo gave their agents, including the co-defendants, substantial power to affect

       their legal relations with third parties, including Plaintiff and consumers generally

       Americo cloaked their agents with apparent authority to enter into advertising

       arrangements on their behalf, including lead generation telemarketing which the

       Plaintiff received.

    73. The co-defendants transferred customer infomation, including the Plaintiff

       information, directly to Americo. Thus, the co-defendants has the ability ... to enter

       consumer information into the seller s sales or customer systems, as discussed in the

       May 2013 FCC Ruling. Each of the co-defendants are an apparent agents of Americo.

    74. By hiring the co-defendants to make calls on behalf of its agents to generate sales

       leads, Americo “manifes ed] assent to another person ... that the agent shall act on

       the principal’s behalf and subject to the principal’s control as described in the

       Restatement (Third) of Agency.

    75. Each and every co-defendant knew that its calls were resulting in actual quotes for,

       and sales of, Americo’ insurance.


    76. These quotes and sales were being performed by Americo themselves.

                                      FACTUAL ALLEGATIONS

    77. In 2015, 2016, 2017 and 2018, the Plaintiff received multiple unwanted automated
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           phone calls to the Plaintiff s cell phones which were not related to any emergency

           purpose and without the Plaintiffs consent. Despite being more than 20 years

           from the target demographic, the Plaintiff received over 10 such calls, although

           the Plaintiff is unsure of the total number of calls at this point as multiple spoofed

           caller ID numbers were used. Each and every call had a delay of dead air of

           several seconds indicating that the calls were initiated using an automated

           telephone dialing system and almost every call contained a pre-recorded message

           of sorts.


    78. The calls were from several phone numbers, 718-285-7209 on 5/3/2015 to which was

           initiated using an automted telephone dialing system (ATDS) and contined a pre¬

           recorded message. The call eventually con ected with Moisos Espinosa is a life

           insurance agent who offered the Plaintiff a policy through Amedeo. TheThe calls

           connected to the Plaintiff’s cell phones, which were 615-348-1977 and 615-331-

           7262.

    79. Many of the calls contained a pre-recorded message which stated: Attention, this is a

           United States consumer alert concerning newly implemented insurance

           requirements. Due to the recent supreme court ruling on Obamacare...we are


           calling all consumers between 50 to 85 that may not have enough life insurance

           and are also in need of ignificant disco nts on their healthcare and prescription

           drug costs. If you are one of the millions of Americans that are looking for

           significant discount on your healthcare costs and are also worried about leaving

           your children or loved ones with a financial burden related to your pa sing, then

           this new insurance program is perfect for you. Due to the implementation of the
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           new healthcare arid life insurance policies, e can offer you thousands of do l rs

           of life insurance, as well as save you thousand of dollars per year on your

           healthcare costs without costing you any money out of your pockcet. Press 1 now

           to speak to a representative to activate your thousands of dollars of healthcare

           dollars. Upon pressing 1, the Plaintiff was connected with someone who claimed

           to be with United Life insurance associates that passed the Plaintiff on to Moisos

           Espinosa who ultimately offered the Plaintiff a policy through Americo.

    80. Other calls came from 443-773-2038 on 1/19/2016 and 1/19/2016 and on 4/20/2017

           from 216-935-4809, and 216-985-2181 on 5/2/2017 and 216-985-7308 on

           5/3/2017 and 404-965-8901 and 888-710-8885. These calls all were initiated

           using an automated telephone dialing system and many contained a pre-recorded

           message and used vague names such "senior wealth        or "senior benefits   or


           "UnitedLife associates" that are not their true business names and were initiated

           using an automated telephone dialing system.

    81. The Plaintiff identified Jasmine Wicks as the agent who called from 404-965-8901 as

           being from Axis Benefit Solutions or Axis Advisoiy Group which is owned by

           Nick and Jay Politi, who were calling on behalf of One Resource Group.

           According to Tony Luetkemeyer, in house counsel for Americo, "We poke to the

           agency that called you. They will he reaching out to you dir ctly to discus

           resolution of this matter. Their point of contact is Tony Wilson

           (tony. wilson(a).orgcorp.com) orgcorp.com is the website for One Resource


           Group, which indicates the calls from Jasmine Wicks were really by or on behalf

           of One Resource Group and on behalf of Americo. The call was initiated using an
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           automated telephone dialing system and contained a pre-recorded message.

    82. The Plaintiff recieved another call from 407-753-4970 to 615-348-1977 on 5/11/2018

           from Monument Adjustment Bureau, LLC and spoke directly with CEO

           Katherine Brewer, who indicated she was calling on behalf of Americo. The

           Plaintiff was connected with an Americo employee as part of the insurance

           application process. The policy was never processed and no money changed

           hands, however, as the Americo employee indicated that the Plaintiff had a

           previous policy with Americo.

    83. The Plaintiff was called back by Katherine s husband Bryan Brewer who began

           accusing the Plaintiff of engaging in insurance fraud and engaged in a felony. The

           Plaintiff asked Bryan if he even knew what the elements of fraud to which Bryan

           quipped You think you are some smart guy... and later stated That s not for

           me to determine when asked what the elements of insurance fraud are.

    84. Bryan Brewer has engaged in Defamation and Defamation per se by claiming in

           retaliation that the Plaintiff engaged in felonious insurance fraud, particularly

           when Bryn lacked any reasonable belief or even knowledge of the elements of

           insurance fraud. Bryan reported the Plaintiff to the Plano police department

           claiming the Plaintiff engaged in insurance fraud on 5/11/2018, even though

           Bryan knew the Plaintiff never signed up for a policy, never paid for a policy,

           never made a claim on a policy, and no money of any sorts changed hands

           between any parties related to any calls made by Bryan or Bryan’s wife.. Bryan

           knew or should have known that is false statements would injure the Plaintiffs

           reputation. Bryan lacked any reasonable care to determine if the Plaintiff ever
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           engaged in insurance fraud and falsely claimed the Plaintiff engaged in insurance

           fraud when the Plaintiff did not.

    85. Often the calls would simply disconnect after the Plaintiff pressed 1, but on other

           calls, the Plaintiff was able to speak with agents in the call centers and determined

           that they were all selling final expense life insurance by Forester s.




        VTPCO Advisors Inc. VTPCO Advisors, Inc., Axis Advisory Group, Inc., A is

                     Benefit Solutions, Inc., Nick and Jay Politi Involvement

    95. VTPCO Advisors, Inc., Axis Advisory Group, Inc., Axis Benefit Solutions, Inc., Nick

           and Jay Politi are also involved in a common enterprise with Americo in operating

           the call centers that placed automated calls with pre-recorded messages to the

           Plaintiffs cell phone.

    96. VIPCO Advisors owned and ran call centers in Nashville, TN and Florida. VIPCO

           Advisors, Inc., was directing the actions of their call center agents and initiating

           the automated calls with pre-recorded messages that were sent to the Plaintiff on

           behalf of Americo.

    97. VIPCO Advisors Inc. VIPCO Advisors, Inc., Axis Advisory Group, Inc., Axis

           Benefit Solutions, Inc., Nick and Jay Politi are all jointly, directly, vicariously,

           and severally liable parties for the calls in question in this case.

        Actions by Americo Financial Holding Company, Inc. and Americo Financial

                                               Services, Inc.


     100. The Americo defendants, (hereafter Americo ) are a seller of insurance

           products, specifically final expense insurance as defined by the FCC’s rulings and
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            47 CFR 64.1200 et seq. Forester s is liable for each and every call placed on their

            behalf by the agents or other persons operating in the common enterprises as

            described above to sell insurance products using automated telephone calls and

            pre-recorded messages.


     101. Americo regularly allows the telemarketer’s to use their trademarks and other

            intellectual property without objection and with the full knowledge of the

            Americo’ defendants. Even while getting sued multiple times for illegal

            telemarketing and fielding multiple consumer complaints regarding specific

            agent’s conduct in using illegal telemarketing Americo’s has not disciplined or

            terminated a single agent or clawed back any insurance premiums paid to the

            agents as a result of the illegal actions used to sell Americo’ products.

     102. Americo’s regularly permits illegal telemarketing on its behalf and has never

            taken any sort of punitive actions to protect their trademarks or intellectual

            property.

     103. Even after writing and complaining of illegal telemarketing calls to Tony

            Luetkemeyer, in house counsel for Americo, illegal automated calls with pre¬

            recorded messages continued including one on 5/11/2018 to the Plaintiff s cell

            phone, a year to the day after the Plaintiff complained of illegal telemarketing to

            Americo.


     104. Americo’ regularly pays comissions to agents that Americo’ knows is breaking

            the law and ratifies the illegal conduct of the agents as Americo continued

            drafting the Plaintiffs bank account for almost a year after the complaints of

            illegal telemarketing calls for insurance premiums.
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     105. Americo is liable for each and every illegal telephone call placed by agents

            selling Americo insurance products as described in the complaint.

     106. These calls violated the Telephone Consumer protection act, 47 USC 227 (b) by

            their automated nature and entitle the Plaintiff to $1500 per call in damages.

     107. The calls violated the TCP A due to the defendant’s failure to maintain a Do not

            call list, failure to train the agents on the use of a do not call list, pursuant to 47

            USC 227 (c)(5) as codified by the FCC’s 47 CFR 64.1200(d)(4). These are a

            separate category of violations entitling the Plaintiff to an additional $1500 per

            call. In total, the Plaintiff is entitled to recover $3000 per call.

                                           Actual Damages

     107. The Plaintiff has incurred actual damages in this case, specifically, annoyance,

            reduced data usage in his cell phone plan, reduced enjoyment of his cell phone,

            frustruation, increased battery usage for his cell phones, and invasion of privacy.

     108. The Plaintiff has been drafted $99 a month for over a year by Americo for an

            insurance program the Plaintiff doesn’t want and doesn’t qualify for as a result of

            the illegal telemarketing calls.

                                       CAUSES OF ACTION:

                                               COUNTI

                     Violations of the Telephone Consumer Protection Act (TCPA)

     108. Plaintiff Cunningham incorporates by reference all of the above paragraphs of

            this complaint as though fully stated herein.

     109. The foregoing actions by the Defendants constitute multiple breaches of the

            TCPA by placing unsolicited automated calls to the Plaintiffs cell phone. These
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            calls violated the TCPA, 47 USC 227(c)(5) as they failed to maintain an inte al

            do not call list and train their agents on the use of it and for placing calls using

            pre-recorded messages that do not identity the caller or seller of goods or services.

                                              COUNT II

                    Violations of the Telephone Consumer Protection Act (TCPA)

     110. Plaintiff Cunningham incorporates by reference all of the above paragraphs of

            this complaint as though fully stated herein.

     111. The foregoing actions by the Defendants constitute multiple breaches of the

            TCPA by placing automated calls with pre-recorded messages without an

            emergency purpose to the Plaintiffs phone. These calls violated 47 USC 227(b)

                                             COUNT i

                                             Invasion of Pri acy

     112. Plaintiff Cunningham incorporates by reference all of the above paragraphs of

           this complaint as though fully stated herein.

     113. The foregoing actions by the Defendants an invasion of privacy most reasonable

           persons would find offensive.




                            PRAYER FOR DAMAGES AND RELIEFS

        A. WHEREFORE, Plaintiff, Cunningham, respectfully prays and requests that

           judgment be entered against Defendants

        B. Statutory damages of $3000 for each phone call

        C. Pre-judgment interest from the date of the phone calls.

        D. Actual Damages as determined at trial, including a refund of all insurance
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           premiums paid and $3,000 per call and $100,000 for defamation.

       E. Costs of bringing this action; and

       F. For such other and further relief as the Court may deem just and proper



    RespectMty submitted? 5/11/2018

    Craig Cunningha
    Plaintiff, Pro-se

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